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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-mj-00289
                                               :
                                               :
CORINNE MONTONI,                               :
                                               :
                      Defendant.               :


                    JOINT MOTION TO CONTINUE AND EXCLUDE TIME
                            UNDER THE SPEEDY TRIAL ACT

       The United States of America and defendant Corinne Montoni hereby move this Court for

a 30-day continuance of the April 25, 2023, Status Hearing scheduled in the above-captioned

matter, and further to exclude the time within which the Indictment must be filed under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).   In support of its motion, the

government and defendants state as follows:


   1) The parties believe it is in the interests of justice to further continue the Status Hearing in

       because they are very close to finalizing a pre-trial resolution to this matter.          They

       anticipate, however, that it will not be possible to complete all of the necessary logistical

       and preparatory steps prior to the date for which the Status Hearing is presently scheduled.


   2) A delay will also afford the defendant time to review discovery – to include supplemental

       discovery provided on an ongoing basis – which may bear upon a decision to forego trial

       and inform plea negotiations.
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                                            ARGUMENT

       Pursuant to the Speedy Trial Act, an indictment charging an individual with the

commission of an offense generally must be filed within thirty days from the date on which such

individual was arrested or served with a summons in connection with such charges. 18 U.S.C. §

3161(a).    Further, as a general matter, in any case in which a plea of not guilty is entered, the trial

of a defendant charged in an information or indictment with the commission of an offense must

commence within seventy days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date last occurs.        18 U.S.C. § 3161(c)(1).

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which an indictment must be filed.                As is

relevant to this motion for a continuance, pursuant to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A).       Importantly, “[i]n setting forth the statutory factors that justify a

continuance under subsection (h)(7), Congress twice recognized the importance of adequate

pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)).

       An interests of justice finding is within the discretion of the Court.   See, e.g., United States

v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v. Hernandez, 862 F.2d 17, 24 n.3

(2d Cir. 1988). “The substantive balancing underlying the decision to grant such a continuance is

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entrusted to the district court’s sound discretion.” United States v. Rice, 746 F.3d 1074 (D.C. Cir.

2014).

         Under the circumstances, an ends-of-justice continuance is warranted under 18 U.S.C. §

3161(h)(7)(A). The parties require additional time to review discovery, engage in plea

negotiations, and complete logistical steps related to an anticipated plea-trial resolution.

         WHEREFORE, the government and defendants respectfully request that this Court grant a

30-day continuance of the April 25, 2023, Status Hearing, scheduled in the above-captioned

matter, and that the Court exclude the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv), for the reasons detailed above.



                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                           By: /s/ David J. Perri
                                               DAVID PERRI
                                               WV Bar No. 9219
                                               Assistant United States Attorney - Detailee
                                               U.S. Attorney’s Office for the District of Columbia
                                                601 D Street, N.W.
                                               Washington, D.C. 20530
                                               Phone: (304) 234-0100
                                                Email: David.perri@usdoj,gov




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                           )        Case No. 1:21-mj-00289
                                            )
CORINNE MONTONI,                             )
                                             )
                         Defendant.         )
                                            )


                                             ORDER

       Based upon the representations in the Joint Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on April 25, 2023, be

continued for good cause to May                  , 2023, at   p.m., and it is further

ORDERED that the time between April 25, 2023 and May                  , 2023 shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the

best interests of the public and the defendant in a speedy trial, as a continuance will provide

the parties additional time to review discovery, engage in plea negotiations, and complete

logistical steps related to an anticipated plea-trial resolution.



                                             THE HONORABLE MOXILA A. UPADHYAYA
                                             UNITED STATES MAGISTRATE JUDGE
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